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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
TRENTON VICINAGE

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Possession


In re:                                                 Chapter 11

                                                       Case No. 17-33768
S. HENRY SHAHEEN,
                                                       Hon. Christine M. Gravelle, USBJ
                Debtor.



                               PLAN OF REORGANIZATION

          Debtor/Plan Proponent respectfully submits its Plan of Reorganization pursuant to

Chapter 11, Title 11 of the United States Code, in the form annexed hereto and made a part

hereof.




                                        By: ________________________________
                                                 S. HENRY SHAHEEN

Dated:                        , 2018
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                                                I.

                                       INTRODUCTION

       S. Henry Shaheen (“Shaheen”, “Proponent” or “Debtor”) is the Debtor in a Chapter 11

bankruptcy case. On November 27, 2017, Shaheen commenced a bankruptcy case by filing a

voluntary Chapter 11 petition under the United States Bankruptcy Code (“Code”), 11 U.S.C.

§101, et seq. This document is the Chapter 11 Plan (“Plan”) proposed by Debtor. Sent to you in

the same envelope as this document is the Disclosure Statement (“Disclosure Statement”) which

has been approved by the United States Bankruptcy Court for the District of New Jersey (the

“Court”) under 11 U.S.C. §1125, and which is provided to help you understand the Plan.

       This is a reorganization plan, wherein the Proponent seeks to accomplish payments under

the Plan by reorganizing the Debtor’s assets and liabilities under Chapter 11. The Effective Date

of the proposed Plan is the later of (a) thirty (30) days following the date on which the order of

confirmation is signed by the United States Bankruptcy Court, (b) or the date on which the order

of confirmation becomes final.

                                                II.

        CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.     General Overview

       As required by the Bankruptcy Code, the Plan classifies claims and interests in various

classes according to their right to priority of payments as provided in the Bankruptcy Code. The

Plan states whether each class of claims or interests is impaired or unimpaired. The Plan

provides the treatment each class will receive under the Plan.




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B.     Definitions

Scope of Definitions. For purposes of this Plan, except as expressly otherwise provided or

unless the context otherwise requires, all capitalized terms not otherwise defined shall have the

meanings assigned to them in this Section of the Plan. In all references herein to any parties,

persons, entities, or corporations, the use of any particular gender or the plural or singular

number is intended to include the appropriate gender or number as the text may require.

1.     Administrative Expense shall mean any cost or expense of administration of the Chapter

       11 case allowable under Section 507(a) of the Bankruptcy Code, including, without

       limitation, any actual and necessary expenses of preserving the estate of the Debtor, any

       actual and necessary expense of operating the business of the Debtor, any indebtedness or

       obligation incurred or assumed by the Debtor in connection with the conduct of its

       business or for the acquisition or lease of property or the rendition of services to the

       Debtor, all allowances of compensation and reimbursement of expenses, any fees or

       charges assessed against the estate of any Debtor under Chapter 123, Title 28, of the

       United States Code, and the reasonable fees and expenses incurred by the Proponent in

       connection with the proposal and confirmation of this Plan.

2.     Allowed when used as an adjective preceding the words “Claims” or “Equity Interest”,

       shall mean any Claim against or Equity Interests of the Debtor, proof of which was filed

       on or before the date designated by the Bankruptcy Court as the last date for filing proofs

       of claim or Equity Interest against such Debtor, or, if no proof of claim or Equity Interest

       is filed, which has been or hereafter is listed by the Debtor as liquidated in amount and

       not disputed or contingent and, in either case, a Claim as to which no objection to the

       allowance thereof has been interposed with the applicable period of limitations fixed by




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      the Plan, the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, Local Rules,

      or as to which any objection has been interposed and such Claim has been allowed in

      whole or in part by a Final Order. Unless otherwise specified in the Plan, “Allowed

      Claim” and “Allowed Equity Interest” shall not, for purposes of computation of

      distributions under the Plan, include interest on the amount of such Claim or Equity

      Interest from and after the Petition Date.

3.    Allowed Administrative Expense shall mean any Administrative Expense allowed

      under Section 507(a)(1) of the Bankruptcy Code.

4.    Allowed Unsecured Claim shall mean an Unsecured Claim that is or has become an

      Allowed Claim.

5.    Bankruptcy Code shall mean the Bankruptcy Reform Act of 1978, as amended, and as

      codified in Title 11 of the United States Code.

6.    Bankruptcy Court shall mean the United States Bankruptcy Court for the District of

      New Jersey having jurisdiction over the Chapter 11 Case and, to the extent of any

      reference made pursuant to 28 U.S.C. Section 158, the unit of such District Court

      constituted pursuant to 28 U.S.C. Section 151.

7.    Bankruptcy Rules shall mean the rules and forms of practice and procedure in

      bankruptcy, promulgated under 28 U.S.C. Section 2075 and also referred to as the

      Federal Rules of Bankruptcy Procedure.

8.    Business Day means and refers to any day except Saturday, Sunday, and any other day

      on which commercial banks in New Jersey are authorized by law to close.

9.    Chapter 11 Case shall mean a case under Chapter 11 of the Bankruptcy Code in which

      Mr. Shaheen is the Debtor.




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10.   Claim shall mean any right to payment from the Debtor whether or not such right is

      reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured,

      disputed, undisputed, legal, equitable, secured, or unsecured; or any right to an equitable

      remedy for breach of performance if such breach gives rise to a right of payment from the

      Debtor whether or not such right to an equitable remedy is reduced to judgment, fixed,

      contingent, matured, unmatured, disputed, undisputed, secured, or unsecured. All claims

      as such term is defined in section 101(5) of the Bankruptcy Code.

11.   Class shall mean a grouping of substantially similar Claims or Equity Interests for

      common treatment thereof pursuant to the terms of this Plan.

12.   Code shall mean Title 11 of the United States Code, otherwise known as the Bankruptcy

      Code.

13.   Confirmation shall mean the entry of an Order by this Court approving the Plan in

      accordance with the provisions of the Bankruptcy Code.

14.   Confirmation Hearing shall mean a hearing conducted before the Bankruptcy Court for

      the purpose of considering confirmation of the Plan.

15.   Confirmation Order shall mean an Order of the Bankruptcy Court confirming the Plan

      in accordance with the provisions of Chapter 11 of the Bankruptcy Code.

16.   Creditor shall mean any person that has a Claim against the Debtor that arose on or

      before the Petition Date or a Claim against the Debtor’s estate of any kind specified in

      section 502(g), 502(h) or 502(i) of the Bankruptcy Code. This includes all persons,

      corporations, partnerships, or business entities holding claims against the Debtor.

17.   Debt shall mean, refer to and shall have the same meaning ascribed to it in Section

      101(12) of the Code.




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18.   Debtor shall mean Mr. Shaheen.

19.   Disbursing Agent shall mean Andrew J. Kelly, Esq. of The Kelly Firm, PC or any party

      appointed by and subject to Court approval, which shall effectuate this Plan and hold and

      distribute consideration to be distributed to holders of Allowed Claims and Allowed

      Equity Interests pursuant to the provisions of the Plan and Confirmation Order.

20.   Disclosure Statement means and refers to the Disclosure Statement filed by the Debtor,

      together with any additional modifications and amendments, as required pursuant to

      Section 1125 et seq. of the Bankruptcy Code.

21.   Effective Date shall mean the later of (a) thirty (30) days following the date on which the

      order of confirmation is signed, or (b) the date on which the order of confirmation

      becomes final.

22.   Equity Interest Holder shall mean the holder of an equity interest in the Debtor.

23.   Equity Interest shall mean any interest in the Debtor represented by stock, warrants,

      options, or other rights to purchase any shares of stock in the Debtor.

24.   Final Order shall mean an order of the Bankruptcy Court or a court of competent

      jurisdiction to hear appeals from the Bankruptcy Court which, not having been reversed,

      modified, or amended, and not being stayed, and the time to appeal from which or to seek

      review or rehearing of which having expired, has become final and is in full force and

      effect.

25.   Impaired when used as an adjective preceding the words “Class of Claims” or “Class of

      Equity Interest”, shall mean that the Plan alters the legal, equitable, or contractual rights

      of the member of that class.




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26.   Person shall mean an individual, a corporation, a partnership, an association, a joint

      stock company, a joint venture, an estate, a trust, an unincorporated organization, or a

      government or any political subdivision thereof or other entity.

27.   Petition Date shall mean the date on which the Debtor filed this petition for relief

      commencing the Chapter 11 Case.

28.   Plan shall mean the Plan of Reorganization filed in these Proceedings, together with any

      additional modifications and amendments.

29.   Priority Non-Tax Claim shall mean a Claim entitled to priority under sections

      507(a)(2), (3), (4), (5), (6) or (7) of the Bankruptcy Code, but only to the extent it is

      entitled to priority in payment under any such subsection.

30.   Priority Tax Creditor shall mean a Creditor holding a priority tax claim.

31.   Priority Tax Claim shall mean any Claim entitled to priority in payment under section

      507(a)(8) of the Bankruptcy Code, but only to the extent it is entitled to priority under

      such subsection.

32.   Proceedings shall mean the Chapter 11 Case of the Debtor.

33.   Professional Persons means and refers to all attorneys, accountants, appraisers,

      consultants, and other professionals retained or to be compensated pursuant to an Order

      of the Court entered under Sections 327, 328, 330, or 503(b) of the Bankruptcy Code.

34.   Professional Claim means and refers to a claim by any and all professionals as provided

      for in Sections 327, 328, 330 and 503(b) of the Bankruptcy Code.

35.   Proponent means Shree.

36.   Reorganized Debtor means the Debtor after confirmation of the Plan.




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37.    Secured Claim means and refers to a Claim which is secured by a valid lien, security

       interest, or other interest in property in which the Debtor has an interest which has been

       perfected properly as required by applicable law, but only to the extent of the value of the

       Debtor’s interest in such property, determined in accordance with Section 506(a) of the

       Bankruptcy Code.

38.    Unsecured Claim shall mean any Claim against the Debtor which arose or which is

       deemed by the Bankruptcy Code to have arisen prior to the Petition Date for such Debtor,

       and which is not (i) a secured claim pursuant to Section 506 of the Bankruptcy Code, as

       modified by section 1111(b) of the Bankruptcy Code, or (ii) a Claim entitled to priority

       under sections 503 or 507 of the Bankruptcy Code. “Unsecured Claim” shall include all

       Claims against the Debtor that are not expressly otherwise dealt with in the Plan.

39.    Other Definitions, a term used and not defined herein but that is defined in the

       Bankruptcy Code shall have the meaning set forth therein. The words “herein”, “hereof”,

       “hereto, “hereunder”, and others of similar import refer to the Plan as a whole and not to

       any particular section, subsection, or clause contained in the Plan. Moreover some terms

       defined herein are defined in the section in which they are used.

C.     Unclassified Claims

       Certain types of claims are not placed into voting classes; instead they are unclassified.

They are not considered impaired and they do not vote on the Plan because they are

automatically entitled to specific treatment provided for them in the Bankruptcy Code. As such,

the Proponent has not placed the following claims in a class. The treatment of these claims is

provided below.




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1.       Administrative Expenses and Fees

         Administrative expenses are claims for costs or expenses of administering the Debtor’s

Chapter 11 case which are allowed under Code Section 503(b). Fees payable to the Clerk of the

Bankruptcy Court and the Office of the United States Trustee were also incurred during the

Chapter 11 Case. The Code requires that all administrative expenses be paid on the Effective

Date of the Plan, unless a particular claimant agrees to a different treatment.

         The following chart lists all of the Debtor’s unpaid administrative fees and expenses

("Compensation"), an estimate of future professional fees and other administrative claims and

fees and their treatment under the Plan:



         NAME               AMOUNT ESTIMATED              TREATMENT                    TYPE OF CLAIM

 The Kelly Firm, P.C.,      $50,000.00                Paid in full on   Effective   Administrative
 Counsel for Debtor                                   Date or as        otherwise
                                                      agreed
 David M. Lederman, CPA     $10,000.00                Paid in full on   Effective   Administrative
 Accountant for Debtor                                Date or as        otherwise
                                                      agreed
 Gerald Scala,              $250,000.00               Paid in full on   Effective   Administrative
 Real Estate Broker for                               Date or as        otherwise
 Debtor    on     Norwood                             agreed
 Property
 Clerk’s Office Fees        Unknown                   Paid in full on Effective     Administrative
                                                      Date
 Office of U.S. Trustee     $325.00                   Paid in full on Effective     Administrative
 Fees                                                 Date
                            TOTAL: $310,325.00




Court Approval of Professional Compensation and Expenses Required:

         The Court must approve all professional compensation and expenses. Each professional

person requesting compensation in the case pursuant to Sections 327, 328, 330, 331, 503(b) or



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1103 of the Bankruptcy Code shall file an application for allowance of final compensation and

reimbursement of expenses not later than ninety (90) days after the Confirmation Date. Nothing

herein shall prohibit each professional person from requesting interim compensation during the

course of this case pending Confirmation of this Plan. No motion or application is required to fix

fees payable to the Clerk’s Office or the Office of the United States Trustee, as those fees are

determined by statute.

        The Debtor will need to pay approximately $310,325.00 worth of administrative claims

and fees on or before the Effective Date of the Plan unless a claimant has agreed to be paid later

or the Court has not yet ruled on the claim.

2.      Priority Tax Claims

        Priority tax claims are certain unsecured income, employment and other taxes described

by Code Section 507(a)(8). Unless the holder of such a § 507(a)(8) Priority Tax Claim agrees

otherwise, it must receive the present value of such Claim, in regular installments paid over a

period not exceeding 5 years from the order of relief.

        The following chart lists all of the Debtor’s Section 507(a)(8) Priority Tax Claims and

their treatment under the Plan:


            DESCRIPTION                    AMOUNT          IMPAIRED            TREATMENT
                                                             (Y/N)


 Priority Tax Claim of:                $18,273.41        No              Payment Interval:
 U.S. Department of the Treasury                                         One Time Payment on Sale
 Internal Revenue Service                                                of Wall Street Property

                                                                         Payment amount/interval:
                                                                         $18,273.41

                                                                         Begin Date:
                                                                         One Year Anniversary of
                                                                         Effective Date

                                                                         End Date:



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                                                                              N/A

                                                                              Interest Rate:
                                                                              N/A

                                                                              Total payout (100%):
                                                                              $18,273.41

 Priority Tax Claim of:                    $4,980.77              No          Payment Interval:
 State of New Jersey                                                          One Time Payment on sale
 Division of Taxation                                                         of Wall Street Property

                                                                              Payment amount/interval:
                                                                              $4,980.77

                                                                              Begin Date:
                                                                              One Year Anniversary of
                                                                              Effective Date

                                                                              End Date:
                                                                              N/A

                                                                              Interest Rate:
                                                                              N/A

                                                                              Total payout (100%):
                                                                              $4,980.77




D.       Claims and Interests

1.       Secured Claims

         Secured claims are claims secured by liens on property of the estate. The following chart

lists all classes of creditors containing the holders of the Debtor’s allowed secured pre-petition

claims and their treatment under this Plan:



     CLASS #                   DESCRIPTION                   IMPAIRED           TREATMENT
                                                               (Y/N)

 One                  Secured Claim of:                     Yes         Payment interval:
                      Nationstar Mortgage, LLC d/b/a                    One Time Payment on Sale of
                      Mr. Cooper                                        Wall Street Property




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             Collateral description:                         Payment amount/interval:
             Real property located at                        $215,998.22
             18 Wall Street, West Long Branch,
             NJ 07764                                        Balloon payment:
                                                             Balance of loan and interest
             Collateral value:                               accrued to date to be paid at
             $515,000                                        closing of sale of property with no
                                                             prepayment penalty.
             Claimed Priority of security int.:
             First priority                                  Begin date:
                                                             Within one year of Effective Date
             Principal Owed:
             $216,686.85                                     End date:
                                                             N/A
             Pre-pet. Arrearage amount:
             $375.31                                         Interest rate %:
                                                             N/A
             Post-pet. Arrearage amount:
             Not applicable                                  Total payout (100%):
                                                             $215,998.22
             Total claim amount:
             $215,998.22                                     Treatment of lien:
                                                             All principal and interest accrued
                                                             to date will be paid in full at the
                                                             closing of the sale of 18 Wall
                                                             Street, West Long Branch, New
                                                             Jersey, with no prepayment penalty
                                                             and the lien will be released.
 Two         Secured Claim of:                         Yes   Payment interval:
             JPMorgan Chase Bank, N.A.                       Within one year of Effective Date

             Collateral description:                         Payment amount/interval:
             Real property located at                        $1,094,466.01
             310-344 Norwood Avenue, West
             Long Branch, NJ 07764                           Balloon payment:
                                                             Balance of loan and interest
             Collateral value:                               accrued to date to be paid at
             $5,250,000                                      closing of sale of property with no
                                                             prepayment penalty.
             Claimed Priority of security int.:
             First priority                                  Begin date:
                                                             Within one year of Effective Date
             Principal Owed:
             $536,339.86                                     End date:
                                                             N/A
             Pre-pet. Arrearage amount:
             $723,139.48                                     Interest rate %:
                                                             4.094%
             Post-pet. Arrearage amount:
             Not applicable                                  Total payout (100%):
                                                             $1,094,466.01
             Total claim amount:
             $1,094,466.01                                   Treatment of lien:
                                                             All principal and interest accrued
                                                             to date will be paid in full at the
                                                             closing of the sale of the 310-344


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                                                                              Norwood Avenue West Long
                                                                              Branch, NJ property with no
                                                                              prepayment penalty and the lien
                                                                              will be released.
 Three               Secured Claim of:                      Yes               Payment interval:
                     Davis Stern, Illya Trincher, John                        Within one year of Effective Date
                     Hanson, and P.T.N.A. (25% each)
                                                                              Payment amount/interval:
                     Collateral description:                                  N/A
                     Real property located at
                     225 Liberty Street, Long Branch, NJ                      Balloon payment:
                     077401                                                   Balance of loan and interest
                     and                                                      accrued to date to be paid at
                     18 Wall Street, West Long Branch,                        closing of sale of property with no
                     NJ 07764                                                 prepayment penalty.
                     and
                     310-344 Norwood Avenue, West                             Begin date:
                     Long Branch, NJ 07764                                    Within one year of Effective Date

                     Collateral value:                                        End date:
                     Unknown                                                  N/A

                     Claimed Priority of security int.:                       Interest rate %:
                     Second priority on 18 Wall Street,                       N/A
                     west Long Branch, NJ 07740 and 31-
                     344 Norwood Avenue, West Long                            Total payout (100%):
                     Branch, NJ 07764, respectively                           $1,400,000.00

                     Principal Owed:                                          Treatment of lien:
                     $1,400,000.00                                            All principal and interest accrued
                                                                              to date will be paid in full at the
                     Pre-pet. Arrearage amount:                               closing of the sale of the 310-344
                     Unknown                                                  Norwood Avenue West Long
                                                                              Branch, NJ property with no
                     Post-pet. Arrearage amount:                              prepayment penalty and the lien
                     Unknown                                                  will be released.

                     Total claim amount:
                     Unknown




2.       Priority Unsecured Claims

         Certain priority unsecured claims that are referred to in Code Sections 507(a)(3), (4), (5),

(6), and (7) are entitled to priority treatment.

         None.


1
 225 Liberty Street, Long Branch, NJ real property is owned by Rivers Edge Mall, Inc., and consequently the
subject real estate is not property of the Debtor’s Chapter 11 estate under 11 U.S.C. §541.


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3.       General Unsecured Claims

         General unsecured claims are unsecured claims not entitled to priority under Code

Section 507(a). The following chart identifies this Plan’s treatment of the classes containing all

of Debtor’s general unsecured claims:




     CLASS #             DESCRIPTION                 IMPAIRED                TREATMENT
                                                       (Y/N)

Four           General unsecured claims             Yes         Payment interval:
               Total amt. of claims as estimated:               Single payment

               $1,527,453.54                                    Payment amount/interval:
                                                                $1,537,453.54

                                                                Begin date:
                                                                Third anniversary of the Effective Date

                                                                End date:
                                                                Third anniversary of the Effective Date

                                                                Interest rate %:
                                                                0.0%

                                                                Total payout (100%):
                                                                $1,527,453.54




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4.       Class(es) of Interest Holders

         Interest holders are the parties who hold ownership interest (i.e., equity interest) in the

Debtor. If the Debtor is a corporation, entities holding preferred or common stock in the Debtor

are interest holders. If the Debtor is a partnership, the interest holders include both general and

limited partners. If the Debtor is a limited liability company, the interest holders include all

members. If the Debtor is an individual, the Debtor is the interest holder. The following chart

identifies the Plan’s treatment of the class of interest holders:



     CLASS #                DESCRIPTION                   IMPAIRED               TREATMENT
                                                            (Y/N)
                   Interest holders:
Five               Shaheen H. Shaheen (100%)         No                Will retain interest




E.       Means of Effectuating the Plan

         1.     Funding for the Plan

         The Plan will be funded as follows:

         The Debtor will fund the Plan through the sale of two properties, 310-344 Norwood

Avenue, West Long Branch, New Jersey, and 18 Wall Street, West Long Branch, New Jersey.

The payments to be made under the Plan over time will allow the Debtor to pay his secured and

administrative debts in full with a dividend to his unsecured creditors. The mortgages on each

property will be paid in full and all liens will be released upon the closing of the sale of each

respective property, with any valid liens attaching to the proceeds of sale. The remaining

proceeds from the property sales will fund the remainder of the plan payments.




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        2.      Disbursing Agent

        Andrew J. Kelly, Esq. of The Kelly Firm, PC shall act as the disbursing agent for the

purpose of making all distributions provided for under the Plan. The Disbursing Agent shall be

compensated as approved upon application to the Court as an administrative claimant.

                                               III.

                       TREATMENT OF MISCELLANEOUS ITEMS

A.      Executory Contracts and Unexpired Leases

1.      Assumptions

        The following are the unexpired leases and executory contracts to be assumed as

obligations of the reorganized Debtor under this Plan:

        None.



2.      Rejections

        On the Effective Date, all executory contracts not assumed shall be deemed to be

rejected.

        The order confirming the Plan shall constitute an order approving the rejection of the

lease or contract. If you are a party to a contract or lease to be rejected and you object to the

rejection of your contract or lease, you must file and serve your objection to the Plan within the

deadline for objecting to the confirmation of the Plan. See Disclosure Statement for the specific

date.




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        THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM

ARISING FROM THE REJECTION OF A LEASE OR CONTRACT IS _________.

        Any claim based on the rejection of an executory contract or unexpired lease will be

barred if the proof of claim is not timely filed, unless the Court later orders otherwise.

B.      Changes in Rates Subject to Regulatory Commission Approval

        This Debtor is not subject to governmental regulatory commission approval of its rates.

C.      Retention of Jurisdiction.

        The Court shall retain jurisdiction of this case pursuant to the provisions of Chapter 11 of

the Bankruptcy Code, pending the final allowance or disallowance of all Claims affected by the

Plan, and to make such orders as are necessary or appropriate to carry out the provisions of this

Plan.

        In addition, the Court shall retain jurisdiction to implement the provisions of the Plan in

the manner as provided under Section 1142, sub-paragraphs (a) and (b) of the Bankruptcy Code.

If the Court abstains from exercising, or declines to exercise jurisdiction, or is otherwise without

jurisdiction over any matter set forth in this Section, or if the Debtor or the reorganized debtor

elect to bring an action or proceeding in any other forum, then this Section shall have no effect

upon and shall not control, prohibit or limit the exercise of jurisdiction by any other court, public

authority or commission having competent jurisdiction over such matters.

D.      Procedures for Resolving Contested Claims.

        Objections to Claims and interests, except for those Claims more specifically deemed

Allowed in the Plan, may be filed by the reorganized debtor or any party in interest up to and

including sixty (60) days following the entry of the Confirmation Order. With respect to

disputed Claims or interests, the Disbursing Agent will hold in a separate interest bearing reserve




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account such funds as would be necessary in order to make the required distribution on the Claim

or interest, as listed either in the Debtor’s schedules or the filed proof(s) of claim.

E.      Notices under the Plan

        All notices, requests or demands with respect to this Plan shall be in writing and shall be

deemed to have been received within five (5) days of the date of mailing, provided they are sent

by registered mail or certified mail, postage prepaid, return receipt requested, and if sent to the

Proponent, addressed to:


                                       The Kelly Firm, P.C.
                                   Attn: Andrew J. Kelly, Esq.
                                   1011 Highway 71, Suite 200
                                  Spring Lake, New Jersey 07762
                                     Telephone: 732-449-0525

                                [Remainder left intentionally blank]




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                                                IV.

                          EFFECT OF CONFIRMATION OF PLAN

A.     Discharge

       This Plan provides that upon confirmation of the Plan, Debtor shall be discharged of

liability for payment of debts incurred before Confirmation, to the extent specified in 11 U.S.C.§

1141. However, any liability imposed by the Plan will not be discharged. If Confirmation of

this Plan does not occur, the Plan shall be deemed null and void. In such event, nothing

contained in this Plan shall be deemed to constitute a waiver or release of any claims against the

Debtor or its estate or any other persons, or to prejudice in any manner the rights of the Debtor or

its estate or any person in any further proceeding involving the Debtor or its estate. The

provisions of this Plan shall be binding upon Debtor, all Creditors and all Equity Interest

Holders, regardless of whether such Claims or Equity Interest Holders are impaired or whether

such parties accept this Plan, upon Confirmation thereof.

B.     Revesting of Property in the Debtor

       Except as provided in Section IV.D. hereinafter, and except as provided elsewhere in the

Plan, the Confirmation revests all of the property of the estate in the Debtor.

C.     Modification of Plan

       The Proponent of the Plan may modify the Plan at any time before Confirmation.

However, the Court may require a new disclosure statement on the Plan if Proponent modifies

the Plan before Confirmation.

       The Proponent may also seek to modify the Plan at any time after Confirmation so long

as (1) the Plan has not been substantially consummated and (2) the Court authorizes the proposed

modification after notice and a hearing.




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D.      Post-Confirmation Conversion/Dismissal

        A creditor or party in interest may bring a motion to convert or dismiss the case under §

1112(b), after the Plan is confirmed, if there is a default in performing under the Plan. If the

Court orders the case converted to Chapter 7 after the Plan is confirmed, then all property that

had been property of the Chapter 11 estate, and that has not been disbursed pursuant to the Plan,

will revest in the Chapter 7 estate, and the automatic stay will be reimposed upon the revested

property only to the extent that relief from stay was not previously granted by the Court during

this case.

E.      Post-Confirmation Quarterly Fees

        Quarterly fees pursuant to 28 U.S.C. Section 1930 (a)(6) continue to be payable to the

office of the United States trustee post-confirmation until such time as the case is converted,

dismissed, or closed pursuant to a final decree.




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